 

 

Case 1:15-cV-00062-ACK-B|\/|K Document 17 Filed 05/22/15 Page 1 of 3 Page|D #: 76

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Lonnie E. Larson

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Wailuku, Hl 96793 Q_. _ m ,0_ 51
Phone: 808-281-4444 ~ :` f 117
Email : lonnielarsonada@\/ah<)o.com

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT GF HAWAII

 

LONNIE E. LARSON

Plainriff,
V.
C.V 15-00062 (ACK / BMK)
NGTICE To DISMISSAL
WITH PREDUJICE
HAWAH PUBLIC HOUSING
AUTHORITY
1002 N. SCHOGL STREET
HON()LULU, HAWAH 96817

 

ATTORNEY FOR DEFENDANTS
ATTORNEY GENERAL OF HAWAII
425 QUEEN STREET
HONOLULU, HAWAII 96813
Defendants

 

 

 

 

 

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NOTICE TO DISMISSAL WITHOUT PREDUJICE OF PLAINTIFF
AGAINST HAWAII PUBLIC HOUSING AUTHORITY

Plaintiff, Pro _se , Lonnie E. Larson , in the above mentioned case enters Notice to
Disrnissal with Prejudice against Defendants pursuant to Federal Rules of the
Civil Procedure 41(a) (1) (A) (i) .

Defendants has not appeared in this lawsuit. Defendants did not file and / or serve
answers to the Complaint or and did not file Motion to Dismiss or Motion for
Summary Judgement in this action .

All parties will bear their own attorney’s fees and costs .

Trial had not been scheduled yet in this action .

Dated : May, @2015 .

Respectfully submitted,

    
    

Lonnie E. \ rson

Plaintiff, Pro -se

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CERTIFICATE OF SERVICE

l hereby certify that on May Z ‘} , 2015 I served a copy to the foregoing Notice for
Disrnissal with Prejudice by sending a copy to the Defendants listed in the U.S.
Mail , postage prepaid to the following :

Hawaii Public Housing Authority
1002 North School St.
Honolulu, Hawaii 96793

Attorneys for Defendants
Attorney General of Hawaii
425 Queen Street
Honolulu, Hawaii 968 13

Respectively Subrnitted :

  

Lonnie E. Larson
Plaintiff , Pro -se

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